     Case 4:19-cv-00226 Document 364 Filed on 01/12/21 in TXSD Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

RUSSELL, et al,                         []
    Plaintiffs                          []
                                        []            No. 4:19-cv-00226
v.                                      []            Hon. Lee H. Rosenthal
                                        []            U.S. District Judge
HARRIS COUNTY, TEXAS, et al,            []
    Defendants                          []

           REPORT OF SHERIFF ED GONZALEZ JANUARY 12, 2021
               AND REQUEST FOR EMERGENCY HEARING

      The Sheriff previously reported the jail population was steadily growing. The

total population now exceeds 9,000 inmates in custody. The jail is bursting at the

seams.

      Something must be done to reduce the population. Many of the inmates—

pre-trial misdemeanors, state jail felonies without holds, other non-violent charges—

ought to be subject to release, but releases have been slow in coming, if they come

at all. The Sheriff yesterday exhorted the district court judges, the District Attorney,

the Public Defender’s Office, and others to help figure out a way to free up some

beds in the jail. To facilitate the process, HCSO is making lists for each court of

state jail felonies and third-degree non-violent felonies which may be subject to

release.



                                             1
    Case 4:19-cv-00226 Document 364 Filed on 01/12/21 in TXSD Page 2 of 3




      In the past, this Court has helped push the parties to work together to reduce

the jail population. The Sheriff believes it is time for the Court to do so again. The

fact the Sheriff has not been reporting regularly has, perhaps, permitted us all to

believe the problem is under control. It is not.

      COVID persists in the jail. Six inmates and two HCSO staff members have

died from the virus. While the current number of inmates and staff testing positive

is currently relatively small, new inmates who test positive have no place to

quarantine because the surveillance tank is full and the general population is grid-

locked. Moreover, the HCSO is seeing an increase in staff absences due to COVID,

and with the increased jail population it is increasingly difficult to comply with

mandatory staffing ratios per the Texas Commission on Jail Standards.

      The Sheriff asks that the Court set a status conference with all interested

parties. We could use some help.

                                       Respectfully submitted.

                                       /s/ Murray Fogler
                                       Murray Fogler
                                       FOGLER, BRAR, O’NEIL & GRAY, LLP
                                       S.D. Tex. No. 2003
                                       State Bar No. 07207300
                                       mfogler@foglerbrar.com
                                       909 Fannin, Suite 1640
                                       Houston, Texas 77010
                                       Tel: 713.481.1010
                                       Fax: 713.574.3224



                                          2
    Case 4:19-cv-00226 Document 364 Filed on 01/12/21 in TXSD Page 3 of 3




                                       Victoria Jimenez
                                       Legal Director
                                       Harris County Sheriff’s Office
                                       1200 Baker St.
                                       Houston, Texas 77002
                                       Tel: 346.286.1588
                                       Victoria.Jimenez@sheriff.hctx.net

                                       ATTORNEYS FOR SHERIFF ED GONZALEZ


                         CERTIFICATE OF SERVICE

      I certify that on January 12, 2021, a copy of this document was served on

counsel of record via electronic filing in accordance with the USDC Southern

District of Texas Procedures for Electronic Filing.

                                       /s/ Murray Fogler
                                       Murray Fogler




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